Case

In re:

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High Country Club, LLC )
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF COLORADO

Case No, 09-11070-MER

Chapter 13

Debtor(s).

Request for Claims
Deposited into the U. S. Treasury Registry Account

THE BURDEN OF PROOF LIES WITH THE CLAIMANT/REQUESTOR
AND MUST BE SUBMITTED BY WRITTEN REQUEST

The Court requires that you supply evidence that you have, indeed, located the correct creditor(s) of the
funds deposited into the registry of the court. The following must be submitted:

Your request for unclaimed/undistributed funds deposited into the registry of the court will not be filed
because:

Your request for unclaimed/undistributed funds deposited into the registry of the court is deficient.
Please submit the following:

While the assignment from Greentree to Wilmington Trust has been provided, evidence of

the Successor-in-Interest status of US Bank is lacking. The court also needs to see evidence of
Ocwen's appointment as Servicing Agent.

The Application for Release of Unclaimed Funds should state that Ocwen Loan Servicing LLC
should be the recipient of the check as you have indicated on the AO213 form.

All requests are subject to final approval by the U. S. Bankruptcy Judge.

Falsification of a request is illegal and subject to fines, penalties, sanctions, and/or imprisonment pursuant

to Title 18, United States Code.

FOR THE COURT:
Dated Kenneth Gardner, Clerk

By:_/s/Christine Eckhardt
Financial Specialist

Cob_UnclaimedFunds@cob.uscourts.gov

 

 
